      Case: 1:23-cv-02312-CEF Doc #: 24 Filed: 02/25/25 1 of 2. PageID #: 522




                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 CHRIS MARTIN,                                   )
                                                 )
               Plaintiff,                        )   CASE NO. 1:23-cv-02312
 v.                                              )
                                                 )
 CLEVELAND CITY COUNCIL, et al.,                 )   JUDGE CHARLES ESQUE FLEMING
                                                 )
              Defendants.                        )
                                                 )
                                                 )
                                                 )


              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY


       Defendants Cleveland City Council and Council President Blaine Griffin hereby provide

notice of supplemental authority, Lackey v. Stinnie, 604 U.S. ____ (2025).

       Plaintiff Chris Martin moved for attorney’s fees based in part on the Parties’ agreement

titled, “Stipulated Temporary Restraining Order.” (See ECF Nos. 10, 11). Cleveland argued,

among other things, that temporary injunctive relief cannot support attorney’s fees. (Opp., p. 10,

ECF No. 22, PageID # 304). Martin countered that this Court may award fees because the

temporary relief changed the legal relationship between the parties. (Reply, p. 4, ECF No. 23).

       Today, the U.S. Supreme Court resolved whether a plaintiff may receive attorney’s fees

when he receives temporary relief:

       A plaintiff who wins a transient victory on a preliminary injunction does not
       become a “prevailing party” simply because external events convert the transient
       victory into a lasting one. Rather, a plaintiff “prevails” under the statute when a
       court conclusively resolves a claim by granting enduring judicial relief on the
       merits that materially alters the legal relationship between the parties.

Lackey v. Stinnie, 604 U.S. ____, slip op. p. 9 (2025).


                                                 1
      Case: 1:23-cv-02312-CEF Doc #: 24 Filed: 02/25/25 2 of 2. PageID #: 523




                                              Respectfully submitted,


                                              MARK D. GRIFFIN (0064141)
                                              Director of Law

                                      By:     s/ Matthew R. Aumann
                                              William M. Menzalora (0061136)
                                              Chief Assistant Director of Law
                                              James R. Russell, Jr. (0075499)
                                              Chief Assistant Director of Law
                                              Matthew R. Aumann (0093612)
                                              Assistant Director of Law
                                              City of Cleveland, Department of Law
                                              601 Lakeside Avenue, Room 106
                                              Cleveland, Ohio 44114-1077
                                              Tel: (216) 664-2800
                                              Fax: (216) 664-2663
                                              WMenzalora@clevelandohio.gov
                                              JRussell2@clevelandohio.gov
                                              MAumann@clevelandohio.gov

                                              Attorneys for Defendants



                                 CERTIFICATE OF SERVICE

       I certify the above was filed electronically. Notice of this filing will be sent to all parties

by operation of the Court’s electronic filing system.



                                                              s/ Matthew R. Aumann
                                                              Matthew R. Aumann (0093612)

                                                              One of the Attorneys Defendants




                                                 2
